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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Related to:

Individual Case No. 3:13-cv-2171 (SC),
Dell Inc.; Dell Products L.P., v. Philips
Electronics North America Corporation et al.;

Individual Case No. 3:13-cv-01173-SC,
Sharp Electronics Corp., et al. v. Hitachi, Ltd,
et al.

Individual Case No. 3:13-cv-2776 SC,
Sharp Electronics Corp. et al. v. Koninklijke
Philips Elecs., N.V. et al.

Master File No. 3:07-md-05944-SC (N.D.Cal)
MDL No. 1917

[PROPOSED] ORDER GRANTING
DEFENDANTS’ JOINT MOTION FOR
PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP
PLAINTIFFS ON STATUTE OF
LIMITATIONS GROUNDS

Honorable Samuel Conti
February 6, 2015

10:00 A.M. -

1, 17th Floor

Judge:
Date:
Time:
Crtrm.:

3:07-cv-05944-SC; MDL No. 1917

[PROPOSED] ORDER GRANTING DEFS' MOT. FOR PARTIAL SUMMARY JUDGMENT AGAINST DELL AND
SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

Case 4:07-cv-05944-JST Document 3044-3 Filed 11/07/14 Page 2 of 2

The DEFENDANTS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS
(“Motion”) came for a hearing on February 6, 2015 at 10:00 a.m., or as soon as counsel could be
heard thereafter, in Courtroom 1, 17th Floor, San Francisco, California before the Honorable
Samuel Conti.

Having read and considered all of the pleadings and documents filed in support of and in
opposition to the Motion, and having considered the arguments of counsel, the Court hereby
grants the Motion.

Partial summary judgment in favor of the moving defendants is hereby ordered with

respect to the Dell and Sharp Plaintiffs’ claims relating to conduct occurring before November 27,

2003.
IT IS SO ORDERED.
DATED:
Honorable Samuel Conti
United States District Judge
Submitted by:

MUNGER, TOLLES & OLSON LLP

By: /s/ Hojoon Hwang
HOJOON HWANG

Attorneys for Defendants LG Electronics,
Inc., LG Electronics U.S.A., Inc.

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[PROPOSED] ORDER GRANTING DEFS' MOT. FOR PARTIAL SUMMARY JUDGMENT AGAINST DELL AND

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